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 6
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 8
 9
10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                         OAKLAND DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)                  MASTER FILE NO. 4:07-cv-5944-JST
14   ANTITRUST LITIGATION                           Case No.: 4:13-cv-03234-JST
15                                                  MDL NO. 1917
     This Document Relates to:
16
     INDIRECT PURCHASER ACTIONS FOR                 DECLARATION OF JOSEPH M. FISHER
17   THE 22 STATES                                  RE: AMENDMENTS TO THE
                                                        SETTLEMENTS
18
                                                    Hearing Date: October 23, 2019
19                                                  Time:         2:00 p.m.
                                                    Courtroom: 6, 2nd Fl. (Oakland)
20                                                  Judge:        Hon. Jon S. Tigar
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      DECLARATION OF JOSEPH M. FISHER RE: AMENDMENTS TO THE SETTLEMENTS – Master File No. 4:07-cv-5944-JST
        Case 4:07-cv-05944-JST Document 5587-2 Filed 09/16/19 Page 2 of 20




 1          I, Joseph M. Fisher, declare:

 2                                             INTRODUCTION
 3          1.      Identification. I am the president of The Notice Company, Inc., a Massachusetts

 4   corporation with offices at 94 Station Street, Hingham, MA 02043 (“The Notice Company” or
 5   “Settlement Administrator”). The Notice Company is principally engaged in the administration of
 6   class action settlements and lawsuits pending in courts around the United States, including the
 7   dissemination of notice to class members, administering the claims process, and distributing the
 8   proceeds of the litigation to the class. I have over 15 years of experience assisting attorneys with
 9   class action notices and claims administration. I am also a member in good standing of the bars of
10   the Commonwealth of Massachusetts, the District of Columbia, and the Commonwealth of Virginia.
11   I am over 21 years of age and not a party to this action. I have personal knowledge of the facts set
12   forth herein and, if called as a witness, could and would testify thereto under oath.
13          2.      Settlements. The Notice Company has served as the Settlement Administrator for the
14   cathode ray tube (“CRT”) indirect-purchaser plaintiffs (“IPP”) settlements with Chunghwa Picture
15   Tubes, Ltd; the LG Electronics defendants (LG Electronics, Inc., LG Electronics U.S.A., Inc., and
16   LG Electronics Taiwan Taipei Co., Ltd); the Philips defendants (Koninklijke Philips N. V. (f/k/a
17   Koninklijke Philips Electronics N. V.); Philips Electronics North America Corporation; Philips
18   Taiwan Limited (f/k/a Philips Electronics Industries (Taiwan), Ltd.); and Philips do Brasil, Ltda.
19   (f/k/a Philips da Amazonia Industria Electronica Ltda.)); the Panasonic defendants (Panasonic
20   Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.); Panasonic Corporation of North
21   America; MT Picture Display Co., Ltd.; and an affiliate of Panasonic Corporation, Beijing
22   Matsushita Color CRT Co., Ltd.); the Hitachi defendants (Hitachi, Ltd.; Hitachi Displays, Ltd. (n/k/a
23   Japan Display Inc.); Hitachi Electronic Devices (USA), Inc.; Hitachi Asia, Ltd.; and Hitachi
24   America, Ltd.); the Toshiba defendants (Toshiba Corporation; Toshiba America Information
25   Systems, Inc.; Toshiba America Consumer Products, L.L.C.; and Toshiba America Electronic
26   Components, Inc.); the Samsung SDI defendants (Samsung SDI Co. Ltd; Samsung SDI America,
27   Inc.; Samsung SDI Brasil, Ltda.; Tianjin Samsung SDI Co., Ltd.; Shenzhen Samsung SDI Co., Ltd;
28   Samsung SDI Malaysia Sdn. Bhd; and Samsung SDI Mexico S.A. de C. V.); the Thomson

                                                        1
      DECLARATION OF JOSEPH M. FISHER RE: AMENDMENTS TO THE SETTLEMENTS– Master File No. 4:07-cv-5944-JST
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 1   defendants (Technicolor SA (f/k/a Thomson SA) and Technicolor USA, Inc. (f/k/a Thomson

 2   Consumer Electronics, Inc.); and Technologies Displays Americas LLC (f/k/a Thomson Americas
 3   LLC). These settlements are collectively referred to as the “Settlements.”

 4             3.     Prior Report on Claims. Last year I submitted a Declaration reporting on claims made
 5   in these Settlements, filed March 7, 2018 (ECF No. 5255-1).
 6             4.     Purpose of Declaration. Class Counsel has requested that I provide updated claims
 7   information, including a projected compensation value for weighted CRT units.1 Class Counsel has
 8   also requested that I review the notice program as proposed in the accompanying motion and
 9   develop the details for its implementation.2
10             5.     Summary of Claims and Units - Timely. In response to the notice program previously
11   administered, the Settlement Administrator received 154,175 claims that were submitted on or
12   before the deadlines established by the Court (“Timely Claims”). Those deadlines were December 7,
13   2015, which applied to all end-user claims other than California natural persons, and June 30, 2016,
14   which was the extended deadline for California natural persons (collectively “Applicable
15   Deadlines”). Following reviews and audits by the Settlement Administrator, the aggregate number of
16   weighted CRT units associated with Timely Claims currently amounts to 67,812,128 weighted CRT
17   units.3
18             6.     Summary of Claims and Units - Late. Claims submitted after the Applicable
19   Deadlines are referred to as “Late Claims.” As of October 1, 2018, the Settlement Administrator had
20   received 4,607 Late Claims. Following reviews and audits by the Settlement Administrator, the
21
22
23   1
       As described in the Detailed Notice of Settlements that was approved for the Indirect Purchaser
24   Settlements (ECF No. 3861-1), payment amounts are being calculated using the following weights:
     standard CRT televisions (screen size of less than 30 inches) have a weight of 1; large CRT
25   televisions (screen size of 30 inches or larger) have a weight of 4.3; CRT computer monitors have a
     weight of 3. Accordingly, a claim for 1 standard CRT television, 1 large CRT television, and 1 CRT
26   computer monitor would constitute a claim for 8.3 weighted CRT units.
     2
       The motion accompanying this Declaration is IPPs’ Motion Pursuant To Ninth Circuit Mandate To
27   Reconsider And Amend Final Approval Order, Final Judgment and Fee Order (ECF Nos. 4712,
     4717, 4740) (the “Motion to Reconsider and Amend”).
28   3
       Final numbers may be revised pending resolution of ongoing audits and reviews of claims.
                                                         2
         DECLARATION OF JOSEPH M. FISHER RE: AMENDMENTS TO THE SETTLEMENTS– Master File No. 4:07-cv-5944-JST
          Case 4:07-cv-05944-JST Document 5587-2 Filed 09/16/19 Page 4 of 20




 1   aggregate number of weighted CRT units associated with Late Claims currently amounts to

 2   13,002,458 weighted CRT units.4
 3            7.      Value of CRT Units. The original amount of the Settlements totaled $576,750,000.

 4   The net amount available for distribution to claimants will be calculated by subtracting attorneys’
 5   fees and incentive awards, litigation expenses, costs of notice and claims administration, payments to
 6   the attorneys general of Illinois and Oregon, and such other amounts as may be approved by the
 7   Court. Accrued interest would be added to the fund.5 The proposed amendments (“Amendments to
 8   the Settlements”) would reduce the gross value of the Settlements by $29,000,000 accompanied by a
 9   corresponding reduction in attorneys’ fees.6 Based on my current estimate of the resulting net
10   amount available to pay claimants, a weighted CRT unit would be valued at approximately $6.10 if
11   only Timely Claims are entitled to compensation.7 A weighted CRT unit would be valued at
12   approximately $5.12 if both Timely Claims and Late Claims are entitled to participate equally in
13   these Settlements.8
14            8.      Payments to Claimants. If final approval is granted to the Amendments to the
15   Settlements and a plan of distribution is approved, end-user Claimants who submitted valid claims
16   within the time deadlines established by the Court will be paid based on the accepted number of
17   weighted CRT units.9 The Settlement Administrator anticipates issuing checks or distributing
18
     4
19     Final numbers may be revised pending resolution of ongoing audits and reviews of claims.
     5
       Class Counsel has requested that a portion of the interest accruing on the settlement fund be
20   allocated to attorneys’ fees on a pro rata basis. In IPPs’ motion accompanying this Declaration,
     accrued interest is estimated to be approximately $13,000,000. The amount requested for attorneys’
21   fees represents 23.66% of the common fund. Thus, $3,076,004 of accrued interest would be
     allocated to Class Counsel and $9,923,996 would be added to the amounts available for distribution
22   to claimants.
     6
23     Class Counsel originally requested an award of attorneys' fees calculated as 33.3% of the common
     fund (ECF No. 4071). The Court’s Order on Attorneys’ Fees, Expenses, and Incentive Awards filed
24   August 3, 2016 (ECF No. 4740) lowered the attorneys’ fees award to 27.5% of the common fund. As
     noted above, Class Counsel now requests an award of attorneys’ fees that would further reduce the
25   percentage from 27.5% to 23.66%.
     7
       This calculation ignores the condition that claimants receive a minimum payment of $25, which
26   will increase the value of a weighted CRT unit only for small claims. See note 9, infra.
     8
27     These are estimated numbers subject to revision. Late Claims are continuing to be received and not
     all Late Claims have been reviewed or audited.
28   9
       Payments will be subject to the following provision that was included in the Detailed Notice of
     Settlements (ECF No. 3861-1): “It is expected that a minimum payment of $25 will be made to all
                                                         3
         DECLARATION OF JOSEPH M. FISHER RE: AMENDMENTS TO THE SETTLEMENTS– Master File No. 4:07-cv-5944-JST
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 1   payments directly into a claimant’s designated online account. Such accounts may include accounts

 2   with Amazon, Google Wallet, PayPal, or others as may be authorized by claimants.
 3          9.      Notice Program for the Amendments to the Settlements. Class Counsel proposes to

 4   provide direct email and/or mail notice to all Class Members who have filed claims, objected to or
 5   excluded themselves from the Settlements, or who have otherwise requested that they be notified of
 6   developments in this case (the “Notice List”).        The notices would summarize the proposed
 7   Amendments to the Settlements and the reduced fee award, and highlight the dates for submitting
 8   objections or comments, and/or for appearing at the hearing on those motions. The proposed
 9   Detailed Notice10 would also confirm that the deadline for opt outs has passed, that there is no new
10   opportunity to request exclusion from the Settlements, and that persons or entities that previously
11   excluded themselves may not rejoin the Settlements.        Attached hereto as Exhibits A and B,
12   respectively, are forms of the proposed Postcard Notice and Email Notice. The Email Notice would
13   be sent to all persons on the Notice List who provided an email address. Postcards would be sent to
14   all persons on the Notice List where (a) no email address was provided or (b) where attempts to send
15   email notice to persons who provided email addresses result in a bounce back of the message to the
16   Settlement Administrator indicating a failure to deliver the email.11 Prior to mailing the postcard
17   notices, the Settlement Administrator will submit the Notice List for National Change of Address
18   (“NCOA”) updates utilizing the NCOALink service as licensed by the U.S. Postal Service. The
19   NCOALink process improves mail deliverability by providing mailers with current, standardized,
20   delivery point coded addresses for individual, family, and business moves. The NCOALink process
21   attempts to match each name and address on the mailing list against the NCOALink database
22   consisting of approximately 160 million records of 48 months of permanent address changes as filed
23
24   Statewide Damages Class Members who submit a valid claim. The maximum payment will be three
     times the estimated money damages for each claimant.”
25   10
        See ¶ 10, infra.
     11
26      If an intended recipient has an email inbox quota that has been exceeded, or if the intended
     recipient’s mail server is temporarily unavailable, the Settlement Administrator might receive a “soft
27   bounce” from that remote server with information that the email message was unable to be delivered,
     usually accompanied by a specific reason. A soft bounce is typically a temporary problem and the
28   Settlement Administrator may try to send its email message again before electing to mail a postcard
     to such person.
                                                       4
      DECLARATION OF JOSEPH M. FISHER RE: AMENDMENTS TO THE SETTLEMENTS– Master File No. 4:07-cv-5944-JST
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 1   by relocating postal customers. For claimants represented by a claims aggregator or third-party

 2   claim-submission company, notice will be sent to each such third-party company with the request
 3   that it directly notify its clients.12 The estimated cost for the above-described notice program is

 4   $40,000.
 5           10. Notice on the Settlement Website. The Postcard Notice and Email Notice will direct
 6   recipients to obtain additional information at www.CRTclaims.com (the “Settlement Website”). The
 7   Settlement Website will be updated to include a Detailed Notice concerning the Amendments to the
 8   Settlements, substantially in the form attached hereto as Exhibit C.13 Copies of the Motion To
 9   Reconsider and Amend and the Amendments themselves will also be posted on the Settlement
10   Website. The Settlement Website would also highlight the dates for the approval hearing and the
11   deadline for submissions in connection with that hearing. This information will be available to all
12   visitors to the Settlement Website, regardless of whether they received a postcard or email notice.
13   The Settlement Website continues to be an ongoing method for providing information about these
14   Settlements.14
15           I declare under penalty of perjury that the foregoing is true and correct to the best of my
16   knowledge.
17           Executed at Hingham, Massachusetts, this 16th day of September, 2019.
18
19                                                         ___________________________
                                                                 JOSEPH M. FISHER
20
21
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24
     12
25       If a claims aggregator or third-party claim-submission company informs the Settlement
     Administrator that the company no longer represents a particular claimant, the Settlement
26   Administrator would follow up and provide notice to such claimant.
     13
        A Spanish version of the Detailed Notice will also be available at the Settlement Website.
27   14
        Since the Court granted final approval to the Settlements on July 7, 2016, visits to the Settlement
28   Website have been continuing. From July 8, 2016, to the present, 89,796 users have visited the
     Settlement Website for a total of 134,682 sessions and 516,223 pageviews.
                                                       5
      DECLARATION OF JOSEPH M. FISHER RE: AMENDMENTS TO THE SETTLEMENTS– Master File No. 4:07-cv-5944-JST
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           DECLARATION OF JOSEPH M. FISHER




                          EXHIBIT A
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                           CRT Claims
Important Legal Notice     c/o The Notice Company
for Indirect Purchasers    P. O. Box 778
   of CRT Products:        Hingham, MA 02043


 Amendments to six
  settlements have
 been reached with
 defendants in class
   action lawsuits.

Further information is
     available at
www.CRTclaims.com
This notice is for persons and entities that submitted claims, excluded themselves, objected
 Case
to,      4:07-cv-05944-JST
    or requested                     Document
                   information in connection       5587-2
                                             with six          Filed
                                                      settlements      09/16/19
                                                                  of lawsuits broughtPage    9 ofof20
                                                                                      on behalf
indirect purchasers of televisions, computer monitors and other products containing a
Cathode Ray Tube (“CRT Products”). The lawsuits are titled In re: Cathode Ray Tube (CRT)
Antitrust Litigation, MDL No. 1917, U.S. District Court for the Northern District of California.
Under the amendments, the six settlements now • Object by December XX, 2019. You or your
(1) total $512,750,000 plus accrued interest; (2)   attorney may file with the Court objections to
provide that Class Counsel will reduce their        the amendments to the settlements or to the
attorneys’ fee request by $29,000,000 so that       request for attorneys’ fees.
the net settlement fund after deducting • Attend the hearing on January XX, 2019.
attorneys’ fees is unchanged; (3) apply only to     You and/or your attorney may attend the
consumers who purchased CRT Products in AZ,         Court’s hearing on approval of the amended
D.C., CA, FL, HI, IA, KS, ME, MI, MN, MS, NE,       settlements and attorneys’ fee request. This
NV, NM, NY, NC, ND, SD, TN, VT, WV, and WI;         hearing date may change. Check the website
and (4) no longer release claims for consumer       listed below for updates.
purchases made in all other jurisdictions. Your • Detailed notice and electronic payment. You
options at this time are:                           may obtain a more detailed notice, and
• Do nothing. Any valid claim you submitted will claimants may sign up for electronic payment of
  be paid after the Court grants final approval and their claims at the website listed below or by
  after any appeals are resolved.                   contacting the claims administrator.

For complete information or to obtain the Detailed Notice, go to: www.CRTclaims.com.
You may contact the Claims Administrator at 1-800-649-0963 or by writing to: CRT Claims, c/o
The Notice Company, P.O. Box 778, Hingham, MA 02043. Para una notificación en Español,
llamar o visitar nuestro website.
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            DECLARATION OF JOSEPH M. FISHER




                           EXHIBIT B
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                                         Email Notice
Subject: Important Legal Notice for Indirect Purchasers of CRT Products regarding
Amendments to Class Action Settlements

This Notice is authorized by the U.S. District Court for the Northern District of California in the
case entitled In re: Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917. This is not a
solicitation from a lawyer.

This notice is for persons and entities that submitted claims, excluded themselves, objected to or
requested information in connection with six settlements of lawsuits brought on behalf of
indirect purchasers of televisions, computer monitors and other products containing a Cathode
Ray Tube (“CRT Products”). The lawsuits are titled In re: Cathode Ray Tube (CRT) Antitrust
Litigation, MDL No. 1917, in the U.S. District Court for the Northern District of California. The
address of the Court is 1301 Clay Street, Suite 400 S, Oakland, CA 94612.

Amendments to the six settlements have been reached with the defendants.

Copies of the Amendments to the settlements and a more detailed notice regarding the
Amendments are available online at <active link> www.CRTclaims.com </active link> or by
calling toll-free at 1-800-xxx-xxxx.

Please read the notice carefully. Your legal rights may be affected whether or not you act.

Under the Amendments, the six settlements now: (1) total $512,750,000 plus accrued interest;
(2) (2) provide that Class Counsel will reduce their attorneys’ fee request by $29,000,000 so that
the net settlement fund after deducting attorneys’ fees is unchanged; (3) apply only to consumers
who purchased CRT Products in AZ, D.C., CA, FL, HI, IA, KS, ME, MI, MN, MS, NE, NV,
NM, NY, NC, ND, SD, TN, VT, WV, and WI; and (4) do not apply to claims for consumer
purchases made in all other jurisdictions, which claims are no longer being released.

The Court previously approved settlements with two other defendants, Chunghwa and LG, for
$35,000,000. Those settlements are final and are not impacted by the Amendments. The total
for all settlements reached in this litigation is now $547,750,000.

Your options at this time are:

   •    Do nothing. Any valid claim you submitted will be paid after the Court grants final
        approval and after any appeals are resolved
   •    Object by November XX, 2019. You or your attorney may file with the Court, at the
        address listed above, objections to the amendments to the settlements or to the request for
        attorneys’ fees. Objections must be written, signed and dated and include the following
        information:
            o Your name, address, telephone number, and if you are being assisted by a lawyer,
               the lawyer’s name, address and telephone number;
            o The Action name and number (In Re: Cathode Ray Tube (CRT) Antitrust
               Litigation, MDL No. 1917) ;
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             o Proof of membership in one or more of the 22 Indirect Purchaser State Classes;
                and
             o A brief explanation of your reasons for objecting.
    •    Attend the hearing on December XX, 2019. You and/or your attorney may attend the
         Court’s hearing on approval of the amended settlements and the attorneys’ fee request.
         This hearing date may change. Check the website listed below for updates.
    •    Detailed notice and electronic payment. You may obtain a more detailed notice <active
         link> here <active link>, and claimants may sign up for electronic payment<active link>
         here <active link>, or may do either at the website listed below or by contacting the
         claims administrator.

Questions? Contact us as follows:

CRT Claims Administrator
c/o The Notice Company
P.O. Box 778
Hingham, MA 02043
1-800-649-0963
www.CRTclaims.com
--------------- End of Email Notice ---------------

[Note: In order to increase the chances that an email message will be delivered to and opened by
the intended recipients, neither the Detailed Notice nor the Summary Notice will be attached to
the email. Some email recipients will automatically delete, without opening, emails containing
attachments if the sender is unknown. In addition, various email servers have implemented the
following bounce feature: “Mail Block - Attachment Detected (MBAD)”, which indicates that
the recipient’s email server will block an email because the message contains an attachment.
This may be reported as “552 Disapproved attachment.”]
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            DECLARATION OF JOSEPH M. FISHER




                           EXHIBIT C
         Case 4:07-cv-05944-JST Document 5587-2 Filed 09/16/19 Page 14 of 20


                      U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

              Amendments to Settlements Have Been Reached
              With Seven Defendants in the Cathode Ray Tubes
                  (CRT) Indirect Purchaser Class Actions
              A Federal Court authorized this notice. This is not a solicitation from a lawyer.
•   Please read this notice carefully. Your legal rights may be affected whether or not you act.
•   This is the fourth legal notice in the indirect purchaser litigation known as In re: Cathode Ray Tube (CRT)
    Antitrust Litigation, MDL No. 1917, in the U.S. District Court for the Northern District of California. There are
    nine settlements in this litigation involving alleged overcharges on the price of Cathode Ray Tube (“CRT”)
    Products purchased indirectly from the Defendants. “CRT Products” include CRTs and products containing
    CRTs, such as televisions and computer monitors. “Indirectly” means that you purchased the CRT Product from
    someone other than a Defendant or alleged co-conspirator. For example, you bought a television containing a
    CRT from a retailer, such as Best Buy or Costco, or a computer monitor containing a CRT from Dell.
•   The Court previously approved settlements with two Defendants, Chunghwa and LG, for $35,000,000. Six
    settlements with seven additional Defendants, Philips, Panasonic, Hitachi, Toshiba, Samsung SDI, Thomson and
    TDA, totaling $541,750,000, were approved by Court in 2016 (the “2016 Settlements”). Thus, settlements with
    all nine defendants previously totaled $576,750,000.
•   Plaintiffs have agreed to amend the 2016 Settlements to address objections by certain class members, a n d
    h a v e e n t e r e d i n t o “ A m e n d m e n t s ” w i t h e a c h o f the seven Defendants.
•   The Amendments (1) reduce the total Settlement Amount for the six settlements by $29,000,000 to $512,750,000
    plus accrued interest; (2) provide that Class Counsel will reduce their attorneys’ fee request by $29,000,000 so
    that the net settlement fund for the 2016 Settlements after deducting attorneys’ fees is unchanged; and (3) apply
    only to consumers who purchased CRT Products in Arizona, the District of Columbia, California, Florida,
    Hawaii, Iowa, Kansas, Maine, Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Mexico, New York,
    North Carolina, North Dakota, South Dakota, Tennessee, Vermont, West Virginia, and/or Wisconsin (the “22
    Indirect Purchaser State Classes). The Amendments provide that the 2016 Settlements do not release the claims
    of consumers who purchased CRT Products in all other states, who no longer are included in the Settlement
    Class. All other terms of the 2016 Settlements remain the same. The total settlements among the nine defendants
    now total $547,750,000.
•   This notice is directed to members of the 22 Indirect Purchaser State Classes who submitted a claim, objected to,
    requested exclusion from, or requested updates related to the 2016 Settlements.

           YOUR LEGAL RIGHTS AND OPTIONS IN THE AMENDMENTS TO THE SETTLEMENTS

    OBJECT BY                  You or your attorney may file an objection with the Court explaining why you disagree
    XXXXXXXXX YY, 2019         with the Amendments to the 2016 Settlements and/or the request for attorneys’ fees. See
                               Question 10 for specifics.

    GO TO THE HEARING          You or your attorney may attend the hearing and ask to speak to the Court about the
    ON XXXXXXXXX YY,           Amendments to the 2016 Settlements or attorneys’ fees. See Questions 12 to14.
    2019
                               If you submitted a claim in the settlements, it will be processed and all valid claims
    DO NOTHING
                               will be paid after the Court grants final approval and after any appeals are resolved.

    NO RIGHT TO                You may no longer exclude yourself from 2016 Settlements. An opportunity to
    EXCLUDE YOURSELF           exclude yourself from the 2016 Settlements was already provided. The Amendments
                               to the Settlements do not reduce the net settlement fund.

                                                          1
                            VISIT www.CRTclaims.com OR CALL TOLL FREE 1-800-649-0963
                       PARA UNA NOTIFICACIÓN EN ESPAÑOL, VISITAR NUESTRO WEBSITE O LLAMAR
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                  These rights and options – and the deadlines to exercise them – are explained in this Notice.
                                                      WHAT THIS NOTICE CONTAINS

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                                                                         2
                               VISIT www.CRTclaims.com OR CALL TOLL FREE 1-800-649-0963
                          PARA UNA NOTIFICACIÓN EN ESPAÑOL, VISITAR NUESTRO WEBSITE O LLAMAR
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                                    BASIC INFORMATION

 1. What is this Notice about?

This Notice is to inform you about Amendments to the 2016 Settlements that have been reached with
the seven Defendants who are parties to the 2016 Settlements.

                                    RECENT CASE HISTORY

 2. What happened to the Settlements after they were approved in 2016?

The District Court approved settlements in 2016 totaling $541,750,000.         The 2016
Settlements, in conjunction with settlements previously entered with Chunghwa and LG for
$35,000,000, provided for a total settlement amount of $576,750,000.
Certain individuals and entities objected to the 2016 Settlements (the “Objectors”) on a
number of grounds. The District Court overruled those objections and the Objectors
appealed to the Ninth Circuit Court of Appeals.
In the Ninth Circuit, the Objectors objected to the release of claims by indirect purchasers
who purchased CRT Products in states that did not qualify to participate in the distribution
of the settlement fund pursuant to the approved plan of distribution. At oral argument, the
Ninth Circuit panel expressed concern about whether it was proper to release claims for
indirect purchases made in certain states when there were no named plaintiffs from those
states and class members who made purchases in those states would not participate in
distribution of the settlement fund. After court-ordered mediation in the Ninth Circuit was
unsuccessful, and after unsuccessful motion practice in the District Court and in the Ninth
Circuit, the Ninth Circuit panel, on February 13, 2019, remanded the case to the District
Court to reconsider its approval of the settlements.

 3. What happened after the Ninth Circuit remanded to the District Court in February 2019?

After remand in February 2019, the District Court (1) confirmed Trump, Alioto, Trump &
Prescott LLP as Lead Counsel for the 22 Indirect Purchaser State Classes; (2) appointed
separate counsel as interim co-lead counsel for Arkansas, Massachusetts, Missouri,
Montana, New Hampshire, Oregon, Rhode Island, South Carolina, and Utah (the “9
Repealer States”); (3) appointed separate counsel as interim lead counsel for Alabama,
Alaska, Colorado, Connecticut, Delaware, Georgia, Idaho, Illinois, Indiana, Kentucky,
Louisiana, Maryland, New Jersey, Ohio, Oklahoma, Pennsylvania, Texas, Virginia,
Washington, and Wyoming (the “20 Non Repealer States); and (4) entered an order
referring the matter to Magistrate Judge Jacqueline Scott Corley for settlement.
At the direction of Magistrate Judge Corley, counsel for the seven Defendants and Class
Counsel for the 22 Indirect Purchaser State Classes (“IPP Counsel”), participated in two
mediation sessions in May and July 2019.        As a result of the mediation sessions,
Amendments to the Settlements were entered into with the seven Defendants.




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               THE AMENDMENTS TO THE SETTLEMENTS, INTEREST
                    AND THE NEW TOTAL SETTLEMENT FUND

 4. What are the terms of the Amendments to the Settlements?

The amendments to the settlement agreements are as follows:
(a)   The settlement class definition is narrowed to include only members of the 22
Indirect Purchaser State Classes. The Nationwide Class, which was previously included in
the 2016 Settlements, is no longer included in the settlement class. As a result, only
members of the 22 Indirect Purchaser State Classes are releasing their claims against the
seven Defendants. Thus, claims based on indirect purchases of CRT Products made in all
other states, including the 9 Repealer States and the 20 Non Repealer States, are no longer
being released.
(b)  Each defendant’s settlement amount is reduced by approximately 5.35% for a total of
$29,000,000. This reduces the settlement fund for the six settlements to $512,750,000.
(c)   The attorneys’ fee award to be requested by IPP Counsel is reduced by $29,000,000 in
order to offset the reduction in the settlement amounts, and ensure there is no adverse
impact on class members.



 5. A r e o t h e r t e r m s o f the 2016 Settlements changed? What about interest?

No. All other terms of the original settlement agreements remain the same, including
provisions related to interest earned on the settlement funds. The original settlement
amounts, which were deposited in 2015, have been earning interest since that time. All
interest earned on the original settlement amounts from the date of deposit will remain in
the fund for the benefit of class members, except that as provided in the original settlement
agreements, IPP Counsel will be entitled to seek the interest accrued on their final fee
award. As of August 2019, the approximate interest earned on the $541,750,000 is
$13,000,000. Interest continues to accrue daily.

 6. What is the new total settlement amount?

The new total settlement amount is $547,750,000 plus accrued interest. This amount
includes the new total amount resulting from the Amendments to the Settlements
($512,750,000) plus the total amount of the earlier settlements with Chunghwa Picture
Tubes, Ltd. and LG Electronics, Inc. ($35,000,000).


            IPP COUNSEL’S REDUCED REQUEST FOR ATTORNEYS’ FEES

 7. What was IPP Counsel’s prior attorneys’ fees award in the case?

In 2016, the Court approved an award of attorneys’ fees to IPP Counsel in the amount of
$158,606,250. This award amounted to 27.5 percent of the then-total settlement fund of
$576,750,000. The 2016 Settlements also provided that IPP Counsel were entitled to seek accrued
interest on their fee award.


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 8. What is IPP Counsel’s reduced fee request under the Amendments to the Settlements?

The new total settlement amount is $547,750,000 plus accrued interest. This amount includes the
total amount resulting from the Amendments to the Settlements ($512,750,000) plus the total amount
of the earlier settlements with Chunghwa Picture Tubes, Ltd. and LG Electronics, Inc. ($35,000,000).
The Amendments require IPP Counsel to reduce their request for attorneys’ fees by $29,000,000.
This sum is designed to offset the reduction in the total settlement fund from $576,750,000 to
$547,750,000, so as to ensure that the net settlement funds (i.e., the settlement funds remaining after
deducting fees and court-approved expenses) available for distribution to class members in the 22
Indirect Purchaser State Classes remain unchanged as a result of the Amendments to the Settlements.
If approved by the Court, IPP Counsel’s new fee award will be reduced to $129,606,250, or 23.66%
of the new total settlement fund of $547,750,000.

                                   THE LAWYERS REPRESENTING YOU

 9. Do I have a lawyer representing me?

M e m b e r s o f the 22 Indirect Purchaser State Classes have been, and continue to be, represented by a number
of law firms led by the Court-appointed “Lead Class Counsel”: Trump, Alioto, Trump & Prescott LLP, 2280
Union Street, San Francisco, CA 94123. If yo u a r e a me mb e r o f t h e 22 Indirect Purchaser State Classes,
y o u do not have to pay IPP Counsel separately. IPP Counsel will seek compensation by asking the Court for a
share of the settlement proceeds. If you want to be represented by your own lawyer, and have that lawyer appear
in court for you in this case, you may hire one at your own expense.

                            OBJECTING T O OR COMMENTING ON
            THE A M E N D M E N T S T O T H E SETTLEMENTS OR ATTORNEYS’ FEES

 10. How do I object or comment on the Amendments to the 2016 Settlements or attorneys’ fees?

 If you are a member of the 22 Indirect Purchaser State Classes and submitted a claim in or objected to the 2016
 Settlements, you may ask the Court to deny approval of the Settlements as amended by the Amendments or to
 the attorneys’ fees request by filing objections with the Court. Please note that you cannot ask the Court to
 order a larger settlement or change the terms of the settlements; the Court can only approve or deny the
 Settlements as amended by the Amendments. If the Court denies approval, no settlement payments will be sent
 out and the lawsuit will continue. If that is what you want to happen, you must object.

 If you decide to object, you must do so in writing. Written objections must include the following information:

    •   Your name, address, telephone number, and if you are being assisted by a lawyer, the lawyer’s name,
        address and telephone number;
    •   The Action name and number (In Re: Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917);
    •   Proof of membership in one or more of the 22 Indirect Purchaser State Classes;
    •   A brief explanation of your reasons for objecting; and
    •   Your signature.

 The objection must be submitted to the Court either by mailing it to the Class Action Clerk at the address
 below, or by filing it in person at any location of the United States District Court for the Northern District of
 California.

 The deadline to file objections with the Court is xxxxx, 2019:



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                                               COURT

                                        Class Action Clerk
                                 United States District Court for the
                                  Northern District of California
                                   1301 Clay Street, Suite 400 S
                                        Oakland, CA 94612



11. May I exclude myself from the Amended 2016 Settlements?

No. An opportunity to exclude yourself from the 2016 Settlements was already provided. You may not
exclude yourself from the Amended Settlements.

                                          THE FAIRNESS HEARING

12. When and where will the Court consider the Amendments to the 20 16 Settlements and
    request for attorneys’ fees?

The Court is scheduled to hold a Fairness Hearing to reconsider its approval of the 2016 Settlements as
amended by the Amendments thereto at xx:xx a.m. on xxxxx, 2019, at the United States Courthouse,
Courtroom 6, 2nd Floor, 1301 Clay Street, Oakland, CA 94612. The hearing may be moved to a different date
or time without additional notice, so you should check the website www.CRTclaims.com for current
information.

At this hearing, the Court will consider whether the 2016 Settlements as amended are fair, reasonable, and
adequate. The Court will also consider the reduced request for attorneys’ fees. If there are objections or
comments, the Court will consider them at this time. After the hearing, the Court will decide whether to
approve the 2016 Settlements as amended by the Amendments thereto, and the request for attorneys’ fees. We
do not know how long these decisions will take.

13. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Court may have. But you are welcome to come at your
own expense. If you file an objection or comment, you don’t have to come to Court to talk about it. As
long as you filed your written objection on time, your objection will be presented to the Court for its
consideration. You may also request another lawyer to attend the hearing on your behalf and at your own
expense, but it’s not required.

14. May I speak at the hearing?

You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must file a “Notice of
Intent to Appear in In re: Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917.” Be sure to include
your name, address, telephone number and your signature. Your Notice of Intent to Appear must be submitted
to the Court either by mailing it to the Class Action Clerk at the address in Question 10 above, or by filing it in
person at any location of the United States District Court for the Northern District of California no later than
xxxxx, 2019.




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                                        GET MORE INFORMATION

 15. Where can I get more information?

This notice summarizes the Amendments to the 2016 Settlements. For the precise terms and conditions of the
Amendments, please see the Amendments to the Settlement Agreements available at www.CRTclaims.com.
We encourage you to check this website regularly for developments in this case. You can also get more
information about the settlements in the litigation by:

  •   Calling 1-800-649-0963;
  •   Writing to CRT Questions, c/o The Notice Company, P.O. Box 778, Hingham, MA 02043;
  •   Accessing the Court docket in this case through the Court’s Public Access to Court Electronic Records
      (PACER) system at https://ecf.cand.uscourts.gov; or
  •   Visiting the office of the Clerk of the Court for the United States District Court for the Northern District of
      California, Courtroom 6, 2nd Floor, 1301 Clay Street, Oakland, CA 94612, between 9:00 a.m. and 4:00
      p.m., Monday through Friday, excluding Court holidays.

                                SIGN UP FOR ELECTRONIC PAYMENT

 16. Can I sign up for electronic payment of my claim?

If the Court approves the 2016 Settlements as amended by the Amendments, and any appeals are resolved in
favor of approval, payments will be made to claimants that have valid claims. If you would like to arrange to
receive your payment electronically, for example to your Google Wallet or PayPal account, please see
Electronic Payment Option available at www.CRTclaims.com.

                        ALL INQUIRIES CONCERNING THIS NOTICE
                   SHOULD BE MADE TO THE SETTLEMENT ADMINISTRATOR

       PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE




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